
705 S.E.2d 367 (2010)
STATE of North Carolina
v.
Michael Andrew ROUGHTON.
No. 9P10.
Supreme Court of North Carolina.
December 15, 2010.
Catherine F. Jordan, Assistant Attorney General, for State of North Carolina.
Benjamin Dowling-Sendor, Assistant Appellate Defender, for Roughton, Michael Andrew.
Howard S. Boney, Jr., District Attorney, for State.

ORDER
Upon consideration of the petition filed by State of NC on the 11th of January 2010 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2010."
Upon consideration of the petition filed on the 11th of January 2010 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2010."
